         Case 1:19-cv-00974-ELH Document 14 Filed 05/14/19 Page 1 of 10



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
__________________________________________
                                           :
TIMOTHY KOHLHAUS and                       :
LORRETTO KOHLHAUS,                         :   Civil No. 19-CV-974-ELH
                                           :
            Plaintiffs,                    :
      v.                                   :
                                           :
BOARD OF TRUSTEES OF HEALTH BENEFIT :
FUND – I LOCAL 298 AFL-CIO LIBERTY         :
PLAN and DILLON’S BUS SERVICE, INC.,       :
                                           :
            Defendants.                    :   Electronically Filed
__________________________________________:

         ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT
                   DILLON’S BUS SERVICE, INC.
 TO THE COMPLAINT OF TIMOTHY KOHLHAUS AND LORRETTO KOHLHAUS

       Pursuant to Rules 8, 10, and 12 of the Federal Rules of Civil Procedure, Defendant

Dillon’s Bus Service, Inc. (hereinafter referred as “Dillon’s” or the “Employer Defendant”), by

and through its undersigned counsel, respectfully submits its Answer and Affirmative Defenses

to the Complaint of Plaintiffs Timothy Kohlhaus (“Mr. Kohlhaus”) and Lorretto Kohlhaus (“Ms.

Kohlhaus”) (collectively referred to herein as “Plaintiffs”) and responds as follows:

       STATEMENT OF FACTS PERTAINING TO COBRA VIOLATIONS

       1.      Admitted in part; denied in part. It is admitted only that Mr. Kohlhaus began

working at Dillon’s in 2014. It is further admitted, upon information and belief, that Mr.

Kohlhaus received certain health benefits as a participant in a plan identified as The Local 298

AFL-CIO Health Benefit Fund – 1, Liberty Plan (hereinafter, the “Plan”). It is denied, upon

information and belief, that Mr. Kohlhaus received dental insurance through the Plan, as Mr.

Kohlhaus continues to participate in dental benefits sponsored by Dillon’s.
           Case 1:19-cv-00974-ELH Document 14 Filed 05/14/19 Page 2 of 10



          2.      Admitted in part; denied in part. It is admitted only that Lorretto Kohlhaus

identifies as Mr. Kohlhaus’ wife. The remaining averments of Paragraph 2 of the Complaint

state conclusions of law to which no response is required and are, therefore, denied. To the

extent they are deemed factual, they are denied.

          3.      Denied.

          4.      It is admitted only that Dillon’s employed in excess of twenty (20) individuals at

all times relevant to the instant action.

          5.      Denied. The averments of Paragraph 5 of the Complaint state conclusions of law

to which no response is required and are, therefore, denied.

          6.      Denied. The Employer Defendant is without knowledge or information sufficient

to form a belief as to the truth of the averments set forth in Paragraph 6 of the Complaint, and the

same are, therefore, denied. By way of further response, the averments of Paragraph 6 of the

Complaint state conclusions of law to which no response is required and are therefore, again,

denied.

          7.      Denied as stated. The Employer Defendant is without knowledge or information

sufficient to form a belief as to the truth of the averments set forth in Paragraph 7 of the

Complaint relative to the specific entity within the Plan responsible for the distribution of notices

required under the Consolidated Omnibus Budget Reconciliation Act of 1985 (“COBRA”), and

the same are, therefore, denied.

          8.      Admitted in part; denied in part. It is admitted only that Mr. Kohlhaus last

reported for work in July 2018. It is specifically denied that Mr. Kohlhaus has been separated

from employment; to the contrary, he remains employed by Dillon’s. The remaining averments

of Paragraph 8 of the Complaint are denied.




                                                  -2-
4840-5815-3111, v. 1
           Case 1:19-cv-00974-ELH Document 14 Filed 05/14/19 Page 3 of 10



          9.      Admitted in part; denied in part. It is admitted only that Mr. Kohlhaus has not

been terminated, for gross misconduct or otherwise, and that the Employer Defendant

understands Mr. Kohlhaus has been under the care of one or more medical professionals. The

remaining averments of Paragraph 9 of the Complaint are denied, with the Employer Defendant

noting that the dates identified by Plaintiffs in Paragraph 8 and Paragraph 9 of the Complaint are

inconsistent.

          10.     Denied. The Employer Defendant is without knowledge or information sufficient

to form a belief as to the truth of the averments set forth in Paragraph 10 of the Complaint, and

the same are, therefore, denied. By way of further response, the averments of Paragraph 10 of

the Complaint state conclusions of law to which no response is required and are therefore, again,

denied.

          11.     Denied. The averments of Paragraph 11 of the Complaint state conclusions of

law to which no response is required and are, therefore, denied.

          12.     Denied. The Employer Defendant is without knowledge or information sufficient

to form a belief as to the truth of the averments set forth in Paragraph 12 of the Complaint, and

the same are, therefore, denied. By way of further response, the averments of Paragraph 12 of

the Complaint state conclusions of law to which no response is required and are therefore, again,

denied.

          13.      Denied. The Employer Defendant is without knowledge or information sufficient

to form a belief as to the truth of the averments set forth in Paragraph 13 of the Complaint

relative to any COBRA notice received or not received by Ms. Kohlhaus, and the same are,

therefore, denied. By way of further response, the averments of Paragraph 13 of the Complaint

state conclusions of law to which no response is required and are therefore, again, denied.




                                                 -3-
4840-5815-3111, v. 1
           Case 1:19-cv-00974-ELH Document 14 Filed 05/14/19 Page 4 of 10



          14.     Denied. The Employer Defendant is without knowledge or information sufficient

to form a belief as to the truth of the averments set forth in Paragraph 14 of the Complaint, and

the same are, therefore, denied.

          15.     Denied. The Employer Defendant is without knowledge or information sufficient

to form a belief as to the truth of the averments set forth in Paragraph 15 of the Complaint, and

the same are, therefore, denied. By way of further response, the averments of Paragraph 15 of

the Complaint state conclusions of law to which no response is required and are therefore, again,

denied.

          16.     Denied. The Employer Defendant is without knowledge or information sufficient

to form a belief as to the truth of the averments set forth in Paragraph 16 of the Complaint, and

the same are, therefore, denied.

          17.     Denied. The Employer Defendant is without knowledge or information sufficient

to form a belief as to the truth of the averments set forth in Paragraph 17 of the Complaint, and

the same are, therefore, denied.

          18.     Denied. The Employer Defendant is without knowledge or information sufficient

to form a belief as to the truth of the averments set forth in Paragraph 18 of the Complaint, and

the same are, therefore, denied. By way of further response, the averments of Paragraph 18 of

the Complaint state conclusions of law to which no response is required and are therefore, again,

denied.

          19.     Denied. The Employer Defendant is without knowledge or information sufficient

to form a belief as to the truth of the averments set forth in Paragraph 19 of the Complaint, and

the same are, therefore, denied. By way of further response, the averments of Paragraph 19 of




                                               -4-
4840-5815-3111, v. 1
           Case 1:19-cv-00974-ELH Document 14 Filed 05/14/19 Page 5 of 10



the Complaint state conclusions of law to which no response is required and are therefore, again,

denied.

                                        JURISDICTION & VENUE

          20.     Denied. The averments of Paragraph 20 of the Complaint state conclusions of

law to which no response is required and are, therefore, denied.

          21.     Denied. The averments of Paragraph 21 of the Complaint state conclusions of

law to which no response is required and are, therefore, denied.

          22.     It is admitted only that the Employer Defendant conducts business operations in

and around Maryland. Any remaining averments of Paragraph 22 of the Complaint are denied.

                COUNT I – COBRA – FAILURE TO PROVIDE TIMELY NOTICE UNDER

          23.     The Employer Defendant incorporates its answers to Paragraphs 1 through 22 of

the Complaint as though stated verbatim and at length.

          24.     Denied. The averments of Paragraph 24 of the Complaint state conclusions of

law to which no response is required and are, therefore, denied. By way of further response, Ms.

Kohlhaus has never been employed by the Employer Defendant.

          25.     Denied. The averments of Paragraph 25 of the Complaint state conclusions of

law to which no response is required and are, therefore, denied.

          26.     Admitted in part; denied in part. It is admitted only that Mr. Kohlhaus has not

reported for work at Dillon’s since July 2018. It is denied that Mr. Kohlhaus “stopped working

for Defendant Dillon [sic]” – Mr. Kohlhaus remains employed by the Employer Defendant. The

remaining averments of Paragraph 26 of the Complaint state conclusions of law to which no

response is required and are, therefore, denied.




                                                 -5-
4840-5815-3111, v. 1
           Case 1:19-cv-00974-ELH Document 14 Filed 05/14/19 Page 6 of 10



          27.     Denied. The averments of Paragraph 27 of the Complaint state conclusions of

law to which no response is required and are, therefore, denied.

          28.     Denied. The averments of Paragraph 28 of the Complaint state conclusions of

law to which no response is required and are, therefore, denied.

          29.     Denied. The averments of Paragraph 29 of the Complaint state conclusions of

law to which no response is required and are, therefore, denied.

          30.     Denied. The averments of Paragraph 30 of the Complaint state conclusions of

law to which no response is required and are, therefore, denied.

          31.     Denied. The averments of Paragraph 31 of the Complaint state conclusions of

law to which no response is required and are, therefore, denied. To the extent they are deemed

factual, they are denied.

          32.     Denied. The averments of Paragraph 32 of the Complaint state conclusions of

law to which no response is required and are, therefore, denied.

          33.     Denied. The averments of Paragraph 33 of the Complaint state conclusions of

law to which no response is required and are, therefore, denied. Further, to the extent those

allegations speaking to whether Plaintiffs were “allowed” to continue coverage are deemed

factual, they are denied. The Employer Defendant is without knowledge or information

sufficient to form a belief as to the truth of Plaintiffs’ averments as to their purported inability to

obtain medical treatment and/or their alleged monetary damages, and the same are, therefore,

denied.

          34.     Denied. It is specifically denied that Plaintiffs, or any of them, are entitled to any

form of relief, including that set forth in Paragraph 34 of the Complaint.




                                                   -6-
4840-5815-3111, v. 1
           Case 1:19-cv-00974-ELH Document 14 Filed 05/14/19 Page 7 of 10



         WHEREFORE, the Employer Defendant denies that Plaintiffs are entitled to any of the

relief requested in subparts (a) through (f) of Paragraph 34 of the Complaint and respectfully

requests that judgment be entered in its favor and against Plaintiffs, that the case be dismissed

with prejudice, and that the Employer Defendant be awarded its costs in defending this action,

including a reasonable attorney’s fee.

                                   AFFIRMATIVE DEFENSES

                                 FIRST AFFIRMATIVE DEFENSE

         Plaintiffs’ Complaint fails, in whole or in part, to state a claim upon which relief may be

granted or damages sought can be awarded.

                               SECOND AFFIRMATIVE DEFENSE

         At all times relevant to this litigation, the Employer Defendant acted in a manner which

was proper, reasonable, lawful, and in the exercise of good faith.

                                 THIRD AFFIRMATIVE DEFENSE

         Plaintiffs’ claims are barred, in whole or in part, by the doctrines of waiver, laches,

estoppel, and/or unclean hands.

                               FOURTH AFFIRMATIVE DEFENSE

         The Employer Defendant did not violate any duty to or right of any Plaintiff.

                                 FIFTH AFFIRMATIVE DEFENSE

         If Plaintiffs suffered any damages or losses, such damages or losses were caused in whole

or in part by Plaintiffs’ own acts, omissions or conduct.

                                 SIXTH AFFIRMATIVE DEFENSE

         If Plaintiffs suffered any damages or losses, such damages or losses were not the fault of

the Employer Defendant.




                                                  -7-
4840-5815-3111, v. 1
           Case 1:19-cv-00974-ELH Document 14 Filed 05/14/19 Page 8 of 10



                                SEVENTH AFFIRMATIVE DEFENSE

         The Employer Defendant asserts every defense available to it under COBRA.

                                 EIGHTH AFFIRMATIVE DEFENSE

         Plaintiffs have failed to mitigate their alleged damages.

                                 NINTH AFFIRMATIVE DEFENSE

         Plaintiffs are not entitled to any punitive damages.

                                 TENTH AFFIRMATIVE DEFENSE

         The Employer Defendant did not engage in any unlawful practice or omission with

respect to either Plaintiff.

                               ELEVENTH AFFIRMATIVE DEFENSE

         Plaintiffs’ Complaint is replete with allegations stating conclusions of law to which no

responsive pleading is required under the Federal Rules of Civil Procedure and which are

therefore denied, and strict proof thereof is demanded at the trial of this case.

                                TWELFTH AFFIRMATIVE DEFENSE

         The nature, origin, causation, amount and extent of the injuries, damages and losses

claimed are at issue, and the Employer Defendant demands proof of the same by Plaintiffs as

required by law.

                               THIRTEENTH AFFIRMATIVE DEFENSE

         The Employer Defendant reserves the right to assert such additional affirmative and other

defenses and claims that may become known during discovery or otherwise.




                                                 -8-
4840-5815-3111, v. 1
           Case 1:19-cv-00974-ELH Document 14 Filed 05/14/19 Page 9 of 10



         WHEREFORE, the Employer Defendant respectfully request that (i) judgment be entered

in the Employer Defendant’s favor and against Plaintiffs, and (ii) the Complaint be dismissed

with prejudice.


                                                    Respectfully submitted,

                                                    /s/ Zachary L. Erwin
                                                    Zachary L. Erwin (Bar No. 29045)
                                                    Ariana K. DeJan-Lenoir (Bar No. 20522)
                                                    ANDERSON, COE & KING, LLP
                                                    Seven Saint Paul Street, Suite 1600
                                                    Baltimore, MD 21202
                                                    (410) 752-1630
                                                    (410) 752-0085 (facsimile)
                                                    erwin@acklaw.com
                                                    dejanlenoir@acklaw.com

                                                    /s/ David J. Garraux
                                                    David J. Garraux (PA Bar No. 204350)
                                                    FOX ROTHSCHILD LLP
                                                    500 Grant Street, Suite 2500
                                                    Pittsburgh, PA 15219
                                                    (412) 391-6585
                                                    (412) 391-6984 (facsimile)
                                                    dkiefer@foxrothschild.com

                                                    Attorneys for Defendant Dillon’s Bus
                                                    Service, Inc.

Dated: May 14, 2019




                                              -9-
4840-5815-3111, v. 1
        Case 1:19-cv-00974-ELH Document 14 Filed 05/14/19 Page 10 of 10




                               CERTIFICATE OF SERVICE

       I, Zachary L. Erwin, hereby certify that on May 14, 2019, I caused a true and correct

copy of foregoing Answer and Affirmative Defenses of Defendant Dillon’s Bus Service, Inc. to

the Complaint of Timothy Kohlhaus and Lorretto Kohlhaus, to be filed electronically and served

upon and/or mailed to:

                                Richard P. Neuworth (Bar No. 01052)
                                  Devan M. Wang (Bar No. 30211)
                                      Lebau & Neuworth, LLC
                                  606 Baltimore Avenue, Suite 201
                                       Baltimore, MD 21204
                                           rn@joblaws.net
                                          dw@joblaws.net
                                       Attorneys for Plaintiff


                                                    /s/ Zachary L. Erwin
                                                    Zachary L. Erwin (MD Bar No. 29045)
